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                          UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                   :
                                           :
              v.                           :
                                           :      Case No.: 21-CR-144 (RBW)
                                           :
TAMMY BRONSBURG,                           :
                                           :
              Defendants.                  :

                      NOTICE OF SUBSTITUTION OF COUNSEL

       The United States of America by and through its attorney, the United States Attorney for

the District of Columbia, informs the Court that the above-captioned matter is now assigned to

Assistant United States Attorney (AUSA) Michael L. Barclay. AUSA Michael L. Barclay will be

substituting for AUSA Mona Lee M. Furst.



                                           Respectfully submitted,

                                           MATTHEW M. GRAVES
                                           UNITED STATES ATTORNEY
                                           D.C. Bar No. 481052


                                    By:    /s/ Michael L. Barclay
                                           Michael L. Barclay
                                           Assistant United States Attorney
                                           New York Bar
                                           United States Attorney’s Office
                                           District of Columbia
                                           202-252-7669
                                           Michael.Barclay@usdoj.gov
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                                CERTIFICATE OF SERVICE

       On this 27th day of October 2022, a copy of the foregoing was served upon all parties listed
on the Electronic Case Filing (ECF) System.

                                                     /s/ Michael L. Barclay________________
                                                     MICHAEL L. BARCLAY
                                                     Assistant United States Attorney
